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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. MINKS

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. MINKS2018 OK 36Case Number: SCBD-6644; Rule 6.2ADecided: 05/07/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 36, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.

State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Steven Paul Minks, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
&amp;1 On March 29, 2018, the complainant, Oklahoma Bar Association (OBA), filed a verified complaint against the respondent, Steven Paul Minks, pursuant to Rules 6 and 7 of the Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A. The OBA, with the concurrence of the Professional Responsibility Commission, requests an emergency interim suspension pursuant to Rule 6.2A of the RGDP. 
&amp;2 In support, the OBA presented notices of criminal convictions for direct contempt of court for Minks= failure to appear on behalf of his clients at two felony jury trial sounding dockets and two disposition dockets, all in LeFlore County, Oklahoma. Minks was sentenced as follows:


a. In Case No. CF-2017-78, Minks was found guilty of Direct Contempt of Court on March 8, 2018, and sentenced to a term of imprisonment of 1 day;
b. In Case No. CF-2016-611A, Minks was found guilty of Direct Contempt of Court on March 8, 2018, and sentenced to a term of imprisonment of 1 day, to run concurrently with No. CF-2017-78;
c. In Case No. 2016-393, Minks was found guilty of Direct Contempt of Court on March 22, 2018, and sentenced to a term of imprisonment of 3 days;
d. In Case No. 2017-78 (2nd offense), Minks was found guilty of Direct Contempt of Court on March 22, 2018, and sentenced to a term of imprisonment of 3 days. 


&amp;3 In addition to the 4 criminal convictions, the OBA listed 12 other incidents where Mink failed to appear at court hearings on behalf of his clients during the 3 months preceding the filing of the Notice in this Court. The OBA also alleged Mink failed to appear at a hearing for a client, failed to refund any portion of her fee after she terminated his employment, and refused to communicate with her regarding the unearned fee. The OBA further alleged Respondent acted in violation of statutes by damaging property, violating a protective order, and unlawfully operating a vehicle while under the influence of drugs.
&amp;4 On March 30, this Court ordered Respondent to show cause no later than April 13, 2018, why an order of immediate interim suspension should not be entered. Respondent did not respond.
&amp;5 Upon consideration of the OBA= s Rule 6.2 verified complaint and application for an order of emergency interim suspension, and the evidence presented, the Court finds that Respondent=s has committed conduct in violation of the Oklahoma Rules of Professional Conduct and such conduct poses an immediate threat of substantial and irreparable public harm. 
&amp;6 IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Steven Paul Minks is immediately suspended from the practice of law, pursuant to Rule 6.2A of the RGDP. 
&amp;7 Inasmuch as Respondent did not file an objection under Rule 6.2A(2)(a) and (b), Steven Paul Minks is ordered to give written notices by certified mail, within 20 days from the date of this order, to all of his clients having legal business then pending of his inability to represent them and the necessity for promptly retaining new counsel. If Steven Paul Minks is a member of, or associated with, a law firm or professional corporation, such notice shall be given to all clients of the firm or professional corporation, which have legal business then pending with respect to which the Respondent had substantial responsibility. Steven Paul Minks shall also file a formal withdrawal as counsel in all cases pending in any tribunal. Steven Paul Minks must file, within 20 day from the date of this Order, an affidavit with the Commission and with the Clerk of the Supreme Court stating that he has complied with this Order, together with a list of the clients so notified and a list of all other State and Federal courts and administrative agencies before which the lawyer is admitted to practice. Proof of substantial compliance by Steven Paul Minks with this Order shall be a condition precedent to any petition for reinstatement. 
&amp;8 DONE BY ORDER OF THE SUPREME COURT in conference on May 7, 2018.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.




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